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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


AD ASTRA RECOVERY SERVICES, INC.,

                       Plaintiff,

v.                                                            Case No. 18-1145-JWB

JOHN C. HEATH, et al.,

                       Defendants.


                         AMENDED TRIAL SCHEDULING ORDER

       This matter is currently set for trial on November 1, 2021. Due to the complexity of this

matter, the court finds that it would benefit from the submission of trial briefs. Plaintiff is

instructed to submit a trial brief on or before October 4, 2021. Plaintiff’s brief must set forth the

elements of each claim and describe the evidence Plaintiff will introduce at trial that will establish

the elements of each claim. Defendants are to submit a joint responsive trial brief on or before

October 18. In that brief, Defendants must identify the elements of Plaintiff’s claims which are in

dispute, address the sufficiency of Plaintiff’s proffered evidence on the elements, describe the

evidence that Defendants believe will negate any elements of Plaintiff’s claims, and describe the

evidence that will support any affirmative defenses.

       The deadlines in the previous amended scheduling order (Doc. 406) remain in effect and

are not modified by this order.

                                                       ___s/ John W. Broomes____________
                                                       JOHN W. BROOMES
                                                       UNITED STATES DISTRICT JUDGE
